EXHIBIT
A
UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

DANIEL SOUMAS AND
VALERIE SOUMAS,
husband and wife,

Plaintiffs, Case No. 2:18-cv-00138-EJL

vs.

KOOTENALT COUNTY, IDAHO,
a political subdivision
of the State of Idaho;
and BEN WOLFINGER,
Sheriff of Kootenai
County, Idaho, in both
his official and
individual capacities,

Defendants.

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DEPOSITION OF DANIEL SOUMAS
TAKEN ON BEHALF OF THE DEFENDANTS
AT 8884 NORTH GOVERNMENT WAY, HAYDEN, IDAHO

MAY 7, 2019, AT 10:00 A.M,

REPORTED BY:

JULIE MCCAUGHAN, C.S.R. NO. 684
Notary Public
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since you left Cimcorp?

A. No.

Q. So you started with KCSO in April of '88?
A. April of '88 full-time.

Q. Could you give me your progression through

the ranks?

A. Sure. Started there as a patrol deputy.
Became a field training officer '89, I would say the
fall of ‘89. Promoted to -- well, I transferred to
detectives and did a year there. And I would say '92,
maybe into -- well, '91. Sounds more like it.

Came back to patrol, tested for sergeant,
was promoted in I believe 1993. Worked as a patrol
sergeant on the road. They moved me over to admin
sergeant for the patrol commander sometime in late '94.
After that stint was up, they moved me over as the
command sergeant, and at that time I was called
recreation enforcement but it's basically the marine and
back country unit of the Sheriff's Office. I did that
until May of '99. And part of my duties there were of
course I was the dive team leader and rescue diver, did
things like that.

May of '89, promoted to Lieutenant, was
placed in charge of patrol division. As a division

commander. And I served there and as the SWAT commander

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until November of I think 2004.
Transferred to the jail, took over services
division in the jail then. Wasn't in services very long

and they moved me to take over custody.

Came back to patrol in May of 19 -- or
excuse me -- May of 2008. Transferred -- well, and then
let me break here. I was -- starting in 1999, I was a

division commander, and I never left the position of
division commander. I was in charge of different
divisions. But we did a restructure in 2009, in
September, and they took our bureau commanders which
were then the rank of Captain to the rank of Major.
They made the division -- those were appointed. They
made the division commanders test for the two captains'
positions they were creating which were division
commander positions, so I basically tested for the job I
currently held, which was patrol commander in November
of 2009. Prevailed on that test against other
candidates, continued on as patrol commander, only at
the rank of Captain, until July of 2013.

I was transferred as a Captain to detective
division or investigations division in July of 2013, and
that's where I served until the date of my termination,
September 26, 2017.

Qo. What were your job duties as a Captain of

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the investigative division?

A. In general or?

Qo. In general.

A, Supervising the different units. Major
crimes. Special victims, which was sex crimes, Crimes

against children. Property crimes division. Overseeing
the crime analyst. I wouldn't say daily supervision,
but the violent crimes task force -- special
investigations unit was assigned to the violent crimes
task force, and I had two detectives on that and I was
part of that. Property room or evidence section was
also under my command, so I had some civilian employees
there. And those are basicaily the five areas or six
areas.

Q. Did you have any role with the drug

forfeiture program?

A. Yes.
Q. Can you explain that, please?
A. So when I transferred over, I was -- the

drug forfeiture program was already coming out of
detectives, and I just took over the program, so that's

what I did. That was part of my command.

QO. And that started in July of 2013?
A. Yes.
Q. Okay. Can you describe more what you did in

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your role with respect to drug forfeitures?

A. So what I did was -- asset forfeiture is a
little bit complicated. So I studied it, for starters.
I read all the guidelines, federal guidelines. And then
I was placed on the list of notification from the
federal government. So I was the Department's person
that was the contact with the Department of Justice on
it. And I also reviewed the previous paperwork and
filings, and I asked the auditor's office to do a full
audit on the program, because I saw that some things had
been misassigned. And they did that for me over the
course of like nine months, completed that audit. I was
the person -- the go-to person that if somebody wanted
to spend asset forfeiture money, to come to me and say,
"Do you think this is a valid purchase or a valid use of
the funds?" And I would do that. And if there was a
question on that, I would get ahold of the DOJ. I had a
representative there.

Q. As a general manager, what's the drug
forfeiture money process? I mean, who decides who's
going to get what?

A. All right. Well, there's state and there's
federal, so I'll start with federal.

QO. Okay.

A. Federal is -- the best way to describe this

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is to just describe a typical stop or a seizure. Our
deputies might be out on the highway doing interdiction
work, they make a stop, they discover, for instance, a
bunch of drugs in a vehicle, or a lot of times we've had
seizures as much as almost a half a million dollars in
cash that was in the car. And they would notify me if
it was a huge seizure, because I was the patrol
commander when those were happening, and so I had -- and
I should say that I was the patrol commander when we
were doing a lot of this work, so I was familiar with it
on the intake end. And then when I went to detectives,
I became responsible for how the money is processed and
how it's spent, or at least making sure the department
didn't get into a bind on it. So once that stuff's in
the system on the federal side, the US Marshals take
custody of that. We bring it in, we process it, we let
the marshals know, and they take it out of evidence. We
don't leave a half a million cash in there, for
instance. If there's a vehicle seizure, they store
that. And then it goes to the FBI, and they have an
asset forfeiture process that they go through, and we
either prevail or we don't prevail.

On the state side, the agreement with Barry
McHugh, the prosecutor, is that he gets first bite at

the apple on any seizure that the Sheriff's Office

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makes, and he makes the determination, "Am I going to
take this through state court or do I want you to just
give it to the feds and let them process it?" That can
be, again, anything from vehicles to cash. Obviously
drugs are just going to be seized and eventually
destroyed after criminal trial, so -- and that process
would then go to the prosecuting attorney's office civil
division if -- for the asset forfeiture part. The
criminal side would keep the criminal case. And they
would work together. And sometimes they decided not to
prosecute, but they still did the asset forfeiture.

Q. Okay. So federal government would get a
bite at it. And would they create a fund, a Kootenai
County forfeiture fund?

A. So Kootenai County had an account through
the -- in the county auditor's system. And as I
understood it, the moneys would go into this account and
they would have it bifurcated as to what was state and
what was federal, and that's what I asked for the audit
on. So it would go in there, and then when it needed to
be spent, it could be accessed by the Sheriff with some
provisos as far as notification.

QO. Dees the Sheriff alone decide what to spend
forfeiture moneys on or is there some committee?

A. No. In the end, it's really his decision.

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Proposals come up unchecked. They just check with me to
make sure -- it's not my money. They just check with me
to make sure it's a valid or legal expenditure. And
that was pretty typical of the patrol commander or
whatever wanted to do that, even the jail, we bought
stuff for the jail and they would just get ahold of me
and say, "Is this valid?" And I would look it up, and
typically I knew because I kept pretty good track.

Q. Did spending forfeiture moneys require
commissioner approval?

A. Yes. And when I say yes, it's a legal
issue. Initially, we didn't de that, but because the
commissioners basically control the purse strings on all
cash that's in the possession of Kootenai County, a
system was put in place where the commissioners receive
a letter from the Sheriff saying, "I'm informing you
that I intend to spend this money," but he's not asking
their permission, he's just informing them that he's
going to access that fund, because per the federal
guidelines at least it's not their money to spend, they
can't tell the Sheriff -- in fact, it's called
supplanting if they say, "You have to do this, and
you're going to take this money and spend it over here
on these bottles of water," which in the -- we would

normally budget for -- supplanting.

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on Did the prosecutor have any role in
approving forfeiture expenditures?

A. In the state side, if they were a large
expenditure or if it was something unusual, then I would
go to Barry, or someone could go to Barry. For
instance, we bought a Bear Cat, which is a large armored
vehicle for SWAT and for tactical response, and it was
three hundred some thousand dollars, And we went to
Barry to make sure that he was going to sign off on
that, even though I think we eventually spent federal
money on it. And it was certainly an allowable expense,
but nonetheless, we had Barry go through it and make
sure.

Q. so your role was answering questions on
whether this could or couldn't be spent?

A. Coordinating and then reporting. So I filed
all the annual reports, and I would get with Barry
McHugh on the state side. And we would basically just
go have a coffee meeting, and I'd say, "Here's kind of
where we are on this.™ And the reporting on the federal
was an annual event. And then I'm trying to figure out
how I want to express how the auditor worked. So the
auditor's office keeps the money, and they're supposed
to be providing monthly numbers to us on what's in the

account and what's been spent. That's the only way I

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can do the annual filing, because I need those figures.
I kept a file on the letters that were generated to the
commissioners, so I knew what was in the hopper so to
speak. But it was the auditor's office that provided
those funds. And I worked with a gal named Nancy
Corrutto, who's no longer there, and before her Kim
Stevenson. Corrutto is C-o-r-r- -- I think it was
-u-t-t-o. I believe.

Q. So the auditor's office kept the data, would

provide it to you, and you'd prepare annual reports to

the feds?
A. Yes. Just on the expenditure portion.
Q. So just so I got this straight, you would

provide advice regarding whether it was appropriate or

not when asked, and you would also prepare reports

annually?

A. Right.

Qo. Any other role with respect to drug
forfeitures?

A. I'm sure somebody called me once in a while.

I had started the program in patrol, and so I had a lot
of experience on issues, court rulings and things like
that, so once in a while I would get asked on that, but
the longer I was outside of patrol and doing

detectives -- and detectives has their own problems,

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there's homicides and things going on -- the less I
would provide advice to patrol.

Qo. Did county legal have any role in the drug
forfeiture program?

A. Once in a while I would talk to Darrin about
something, but typically I knew as much about it. I
would bounce some things off of him. I remember some
expenditures that they weren't sure that it was legal,
and I told them that it was, and DOJ said, "Yes, it is
legal."

Qo. So from time to time, Darrin would get
involved in forfeiture issues concerning whether it was

an appropriate forfeiture or not?

A, Right. And then on the other side of
forfeitures, Dave Ferguson and Jamella -- and I can't
remember Jamella's last name -- did the actual asset

forfeiture work on the state side. It came out of their
office. They did the court filings. And I met with
David on a lot of occasions on court filings.

Qo. Prior to June 1, 2017, was it uncommon for
Darrin Murphey to provide legal advice regarding whether

a forfeiture was acceptable or not?

A. I would say that would be true.
Qo. Uncommon?
A, Yes.

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Q. But he would do it from time to time?
A. Yes.
Q. Was there a certain set of circumstances

where Darrin would chime in, as opposed to you?

A. You know, I can't answer that accurately
because I don't know -- on my end, I noticed a
diminishment of people consulting me, but I don't know
who they were talking to.

Q. Okay. When did you notice a diminishment of

people consulting with you?

A. I would say early in 2017.

Q. Any idea why?

A. I do not.

Q. How many drug forfeiture purchases or

transfers were there a year?

A. I would have to have the records. I could
only estimate, and it would be an estimate that there
were probably 20 to 40 depending upon the year. And

that could be way off.

Q. Understood.
A. Yeah.
Q. And were you routinely consulted on every

forfeiture or some of them were just so obvious they
didn't need any input?

A. Most of the time, I was asked -- for a long

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A. No. The e-mail was sent by Mattos, but the
Sheriff was included in that. You know, if Dan wanted
to explain it to me, he could have just picked up the
phone. It doesn't work the other way. Yeah, I can pick
up the phone, but he's my superior and he's two levels
up. If he wanted me to have a conversation about it, he
could have called me over to his office, he could have
called me on the phone, he could have called me on my
cell, he could have done a personal e-mail to me saying,
"Hey, look. I appreciate what you did, but this is what
I'm trying to do." But they disinvited me to the
meeting, just didn’t invite me. I can't really
articulate it here, but I worked in the organization, I
worked with those people, and I know what was going on,
because I've seen them do it to others, I've seen it
happen, I've been in the room and stopped that from
happening to someone. We can talk about it all day, but

I'm telling you that was what was going on.

Q. Did you see an expression of anger from the
Sheriff?

A. I did not.

Q. Thank you. And did anyone tell you you

better not be involved in any more input or in providing
any more input?

A. Yeah. That's what that -- "I don't want you

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A.
Q.
on the ACLU
August 25.
A.
not an item
Q.
A.

Q.

I did.

Se at least in this calendar there's no work
public records request between August 11 and
Would you agree?

Yeah. At least specific on there, there's
listed.

Okay. Let's go back to the e-mail string.
Okay.

We're back to August 25, a date stamp of

1:17, from you to Darrin. Do you see that one?

A.
0.
e-mails?
A.

Q.

request? I'

A.
Q
A.
Q
A

QO.
next week?"
A.

I forwarded

I do.

And you're forwarding the Kathy Griesmyer

Right.

And you say, "Can we talk next week on this
m going to need some info from Lucia"?
Lucia.

"For both KCSO and NIVCTE"?

Right.

Why are you sending Darrin that e-mail?
This narrative or Kathy's e-mail?

The one where you just said, "Can we talk

Well, I'm forwarding Kathy's e-mails because

everything to date on that to him. And then

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